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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

IN RE: CASE NO 18-30400-KKS
Chapter: 7
JAMES MICHAEL FREELAND Ill,

DEBTOR(S).
/

NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE

TO: Debtor(s), Creditors, and Parties in Interest

 

 

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof of service plus an additional three days for service if any party
was served by U.S. Mail, or such other period as may be specified in Fed. R.
Bankr.P. 9006(f).

If you object to the relief requested in this paper, you must file an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL 32301, and serve a copy
on the Trustee, Mary W. Colon, Trustee, P. O. Box 14596, Tallahassee, FL
32317, and any other appropriate person within the time allowed. If you file
and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing or consider the response and grant or
deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief request in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested.

 

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NOTICE IS HEREBY GIVEN that the trustee/debtor-in-possession
intends to sell the following property of the estate of the debtor(s),
under the terms and conditions set forth below.

1.

Description of property:

Real Property located at 7051 Country Oaks Court, Irvington,
AL 38544, identified as Mobile County Parcel ID No. 02-38-09-
29-0-000-005.10, and described as:

Lot 9, Country Oaks, according to plat thereof as recorded Map
Book 32, Page 77, in the records in the Office of the Judge of
Probate, Mobile County, Alabama

Manner of Sale: Private ( X )* Public Auction (_ )
Terms of Sale: (include purchaser, if known, price, price terms,

whether or not sale is free and clear of liens, names and
addresses of lienors, and all other pertinent information)

. Private sale to: Rife Huckabee

. Free and Clear of Liens, encumbrances and Interests.

MortgageAmerica, Inc. holds a first mortgage and note on said
real property. Based on a short sale approval letter from the
lender, the lender has consented to the payoff identified in the
short sale letter.

MortgageAmerica, Inc. also holds a second mortgage and note
on said real property. Based on a payoff letter from the lender,
the loan will be paid in full at closing.

. Selling price and terms as follows: $68,300.00 as is in its

current condition with full right of inspection. Buyer is
responsible for all inspection fees. Seller does not warrant
condition.

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d. Additional Terms: Closing will take place within thirty (30) days
of issuance of a Court Order authorizing the sale. Seller has
agreed to pay real estate commission, owner's title policy, wire
fees, and pro-rated taxes for 2019. No seller’s property
disclosure will be provided. Purchaser shall receive a Trustee’s

Deed.

Purchaser has made a deposit of $640.00 with the balance to
be paid at closing. Purchaser has agreed to pay a buyer's
premium to the Estate of $5,000.00.

e. The proceeds from the sale shall be disbursed in the following

 

 

 

 

 

 

manner:
Payoff to ServiSolutions $61,988.97
(servicer for MortgageAmerica,
Inc. re: first mortgage)
Payoff to ServiSolutions $1,316.86
(servicer for MortgageAmerica,
Inc. re: second mortgage)
Brokerage fees (6% of sales $4,098.00
price)
Owner's title insurance $423.00
Wire fees (2) $40.00
2019 property taxes $423.90

 

 

Estate Estimated Recovery

 

$5,000.00 (buyer’s premium) *

 

*Any additional interest that accrues between the filing of this
notice and order approving sale that cannot be paid from
seller's side for the 2"? payoff will be paid from these funds.

. Lienors and additional co-owners:

MortgageAmerica, Inc. holds a first mortgage against said real
property. Short sale approval has been obtained from the
lender(s). The first mortgage holder, MortgageAmerica, Inc. has
agreed to accept $61,988.97 in full and complete satisfaction of its

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mortgage and claim against the estate. The second mortgage
holder, MortgageAmerica, Inc. has agreed to accept $1,316.86 in
full and complete satisfaction of its mortgage and claim against the
estate. Further, taxes are due for 2019 in the amount of $423.90.
Time is of the essence for Buyer, so the Trustee is filing this Notice
contemporaneously with a Motion to Sell Free and Clear of All
Liens pursuant to Section 363 of the Bankruptcy Code.

The purchase price was/were established by review of the schedules,
any additional documents and testimony provided by parties,
negotiated in good faith within the principles of good business
judgment with the relevant parties by and through a real estate agent,
who marketed and produced the contract before the estate.

*(Applicable to private sales only) The trustee will entertain any
higher bids for the purchase of the assets of the debtor(s) which the
trustee proposes to sell. Such bids must be in excess of 10% more
than the original bid and must be in writing and accompanied by a
deposit of 20% of the proposed higher purchase price. Any higher
bid must be received (with the applicable deposit) by the trustee at
the address listed below no /ater than the close of business 15 days
from the date of this Notice.

IF NO HIGHER BIDS ARE RECEIVED TIMELY, THE SALE WILL
PROCEED AS SET FORTH IN THIS NOTICE. IF HIGHER BID(S)
ARE RECEIVED TIMELY, THE TRUSTEE SHALL CONDUCT A
TELEPHONIC OR IN-COURT AUCTION BETWEEN THE BIDDERS
WHOSE BIDS ARE NOTICED ABOVE AND ARE RECEIVED
TIMELY IN ACCORDANCE WITH THIS NOTICE. ANY BIDDER
THAT DOES NOT PARTICIPATE IN ANY AUCTION SCHEDULE IN
ACCORDANCE WITH THIS NOTICE IS DISQUALIFIED.

NOTICE IS HEREBY GIVEN that all objections to the same

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must state the basis for the objection. If no objection is filed, the sale
described above will take place.

DATED: August 23, 2019 /S/ Mary W. Colon
MARY W. COLON
Chapter 7 Trustee
P. O. Box 14596
Tallahassee, FL 32317
Telephone No.: (850) 241-0144
Facsimile: (850) 702-0735
Florida Bar No. 0184012
trustee@marycolon.com

CERTIFICATE OF SERVICE

| HEREBY CERTIFY THAT A TRUE AND CORRECT COPY
OF THE FOREGOING has been furnished by U.S. Mail with postage
prepaid to all persons on the Court’s mailing matrix by BK Attorney
Services, LLC d/b/a certificateofservice.com and by Trustee to:

Robert J. Barrett, CEO
MortgageAmerica, Inc.

130 Inverness Plaza #339
Birmingham, AL 35242-4800

John B. Johnson, Registered Agent for
Mortgage America, Inc.

1174 Greystone Crest

Birmingham, AL 35242

Seth Greenhill, Esq.

Attorney for Alabama Housing Finance Authority
Padgett Law Group

6267 Old Water Oak Road, Suite 203
Tallahassee, FL 32312

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Seth Greenhill, Esq.

ServiSolutions, a Division of Alabama Housing Finance Authority
Padgett Law Group

6267 Old Water Oak Road, Suite 203

Tallahassee, FL 32312

Kim Hastie, Revenue Commissioner
Mobile County Revenue Commission
3925 Michael Blvd., Suite G

Mobile, AL 36609

and by electronic mail to:
Seth Greenhill, Esq., Attorney for Alabama Housing Finance Authority
at sgreenhill@padgettlaw.net

on August 23, 2019.

[S/ Mary W. Colon
MARY W. COLON

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION
IN RE: JAMES MICHAEL FREELAND, III CASE NO: 18-30400-KKS

DECLARATION OF MAILING
CERTIFICATE OF SERVICE
Chapter: 7

 

 

On 8/23/2019, | did cause a copy of the following documents, described below,
NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE
MOTION TO SELL REAL PROPERTY FREE AND CLEAR OF LIENS, ENCUMBRANCES, AND INTERESTS

to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.

| caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.

Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.

DATED: 8/23/2019

{si Mary W. Colon, Chapter 7 Trustee
Mary W. Colon, Chapter 7 Trustee

P O Box 14596
Tallahassee, FL 32317
850 241 0144
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

IN RE: JAMES MICHAEL FREELAND, III CASE NO: 18-30400-KKS

CERTIFICATE OF SERVICE
DECLARATION OF MAILING

Chapter: 7

 

On 8/23/2019, a copy of the following documents, described below,
NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE
MOTION TO SELL REAL PROPERTY FREE AND CLEAR OF LIENS, ENCUMBRANCES, AND INTERESTS

were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that | have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to

the best of my knowledge, information, and belief.

DATED: 8/23/2019

SS

Jay S. Jump

BK Attorney Services, LLC

d/b/a certificateofservice.com, for
Mary W. Colon, Chapter 7 Trustee

P O Box 14596
Tallahassee, FL 32317
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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS “CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO

LABEL MATRIX FOR LOCAL NOTICING

11293

CASE 18-30400-KKS

NORTHERN DISTRICT OF FLORIDA
PENSACOLA

FRI AUG 23 11-21-39 EDT 2019

FORD MOTOR CREDIT COMPANY
PO BOX 62180
COLORADO SPRINGS CO 80962-2180

ACCEPTANCE LOAN COMPANY INC
PO BOX 9189
MOBILE AL 36691-0189

ALABAMA POWER
PO BOX 242
BIRMINGHAM AL 35292-0001

AMSHER COLLECTION SERVICES PC
4524 SOUTHLAKE PKWY
BIRMINGHAM AL 35244-3271

CAPITAL ONE BANK USA NA
PO BOX 71083
CHARLOTTE NC 28272-1083

CHASE
PO BOX 15153
WILMINGTON DB 19886-5153

CREDIT SYSTEMS
PO BOX 1088
ARLINGTON TX 76004-1088

FIRST PREMIER BANK
601 S MINNESOTA AVENUE
SIOUX FALLS SD 57104-4868

ALABAMA HOUSING FINANCE AUTHORITY
PADGETT LAW GROUP

6267 OLD WATER OAK ROAD

SUITE 203

TALLAHASSEE FL 32312-3858

MORTGAGE AMERICA INC
PADGETT LAW GROUP

6267 OLD WATER OAK ROAD
SUITE 203

TALLAHASSEE FL 32312-3858

ALABAMA CENTRAL CREDIT ONION
3601 8TH AVE
BIRMINGHAM AL 35222-3218

ALABAMA POWER COMPANY

ALABAMA POWER CO CO LADONNA AMOS
600 NORTH 18TH STREET BOX 17N-0043
BIRMINGHAM AL 35203-2200

ANESTHESIA SERVICES PC
51 TACON ST

D

MOBILE AL 36607-3123

CAPITAL ONE BANKKOHLS
PO BOX 3115
MILWAUKEE WI 53201-3115

COMENITY BANKKAY JEWLERY
PO BOX 182273
COLUMBUS OH 43218-2273

DIRECT MANAGEMENT INC
4320 DOWNTOWNER LP S$
MOBILE AL 36609-5446

FORD MOTOR CREDIT CO

CO LAWRENCE J BERNARD ESQ
480 BUSCH DR

JACKSONVILLE FL 32218-5553

BK GLOBAL REAL ESTATE SERVICES
1095 BROKEN SOUND PARKWAY SUITE 200
BOCA RATON FL 33487-3503

ACCEPTANCE LOAN
3976 B GOVERMENT BLVD
MOBILE AL 36693-4723

ALABAMA CREDIT UNION
3601 8TH AVE
BIRMINGHAM AL 35222-3218

AMERICAN FAMILY CARE
ATTN HEATHER NELSON
PO BOX 734315

DALLAS TX 75373-4315

CAPITAL ONE
PO BOX 30285
SALT LAKE CITY UT 84130-0285

CAPITAL ONE NA

CO BECKET AND LEE LLP
PO BOX 3001

MALVERN PA 19355-0701

COMENITY BANKTORRID
PO BOX 182789
COLUMBUS OH 43218-2789

DIRECTV LLC

BY AMERICAN INFOSOURCE AS AGENT
PO BOX 5008

CAROL STREAM IL 60197-5008

FORD MOTOR CREDIT COMPANY
DEPT 55953

PO BOX 55000

DETROIT MI 48255-2679
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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL

PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

GAUTIER FAMILY DENTAL
2808 HWY 90

STE 1

GAUTIER MS 39553-5169

MOBILE SURGERY CENTER
6144 A AIRPORT BLVD
MOBILE AL 36608-3143

QUANTUM3 GROUP LLC AS AGENT FOR
MOMA TRUST LLC

PO BOX 788

KIRKLAND WA 98083-0788

SOUTH MISSISSIPPI COLLECTION
5001 PARK ST
MOSS POINT MS 39563-2733

SYNCHRONY BANKROOMS TO GO
ATTN BANKRUPTCY DEPARTMENT
PO BOX 955060

ORLANDO FL 32896-5060

TD BANK USA

BY AMERICAN INFOSOURCE AS AGENT
PO BOX 248866

OKLAHOMA CITY OK 73124-8866

US BANK
PO BOX 5229
CINCINNATI OH 45201-5229

J STEVEN FORD

WILSON HARRELL FARRINGTON
307 S PALAFOX STREET
PENSACOLA FL 32502-5929

HOLLOWAY CREDIT SOLUTIONS LLC
1286 CARMICHAEL WY
MONTGOMERY AL 36106-3645

NORTH WEST FLORIDA CREDIT UNION
PO BOX 1229
HERNDAS VA 22070

RADIOLOGY ASSO OF MOBILE
6576 AIRPORT BLVD

C2

MOBILE AL 36608-3786

SYNCHRONY BANKBELK

ATIN BANKRUPTCY DEPARTMENT
PO BOX 955060

ORLANDO FL 32896-5060

SYNCHRONY BANKTOYS R US
ATTN BANKRUPTCY DEPARTMENT
PO BOX 955060

ORLANDO FL 32896-5060

THDCBNA
PO BOX 6497
SIOUX FALLS SD 57117-6497

US BANKACADEMY
PO BOX 108
SAINT LOUIS MO 63166-0108

DEBTOR

JAMES MICHAEL FREELAND IIT
9782 HARLINGTON ST
CANTONMENT FL 32533-4530

LINCOLN FINANCIAL
PO BOX 542000
OMAHA NE 68154-8000

PENSACOLA BAY REALITY
201 E GOVERMENT ST
PENSACOLA FL 32502-6018

SERVI SOLUTION
2000 INTRASTATE PARK DR
MONTGOMERY AL 36109-5421

SYNCHRONY BANKCARE CREDIT
ATTN BANKRUPTCY DEPARTMENT
PO BOX 955060

ORLANDO FL 32896-5060

TD BANK USATARGET
3701 WAYZATA BLVD
MINNEAPOLIS MN 55416-3440

TRANSWORLD SYSTEMS
2235 MERCURY WY 275
SANTA ROSA CA 95407-5463

UNITED STATES TRUSTEE

110 E PARK AVENUE

SUITE 128

TALLAHASSEE FL 32301-7728

MARY W COLON
PO BOX 14596
TALLAHASSEE FL 32317-4596
